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UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF SOUTH DAKOTA

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UNlTED STATES OF AMERICA, CR 04-50 /3 /
REDACTED
Plaintiff, INDICTMENT
vs. Involuntary Manslaughter
JOHN WATERS, (18 U.S.C. §§ 1112 and 1153)
Defendant.
The Grand Jury charges:
COUNT I

On or about October 20, 2004, near Allen, in lndian country, in the District of South
Dakota, the defendant, John Waters, an Indian, with wanton and reckless disregard for
human life amounting to gross negligence, did kill [name redacted], in the commission of a
lawful act in an unlawful manner which might produce death, which he knew was a threat
to the lives of others, and having knowledge of such circumstances as could reasonably have
enabled him to foresee the peril to which he subjected others, that is, John Waters did operate
a motor vehicle in a grossly negligent manner, and did thereby commit the crime of

involuntary manslaughter, in violation of 18 U.S.C. §§ 1112 and 1153.

 

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COUNT 11
On or about October 20, 2004, near Allen, in lndian country in the District of South
Dakota, the defendant, lohn Waters, an lndian, with wanton and reckless disregard for
human life amounting to gross negligence, did kill l\/largaret Chipps_, in the commission of
a lawful act in an unlawful manner which might produce death, which he knew was a threat
to the lives of others, and having knowledge of such circumstances as could reasonably have
enabled him to foresee the peril to which he subjected others_, that is_. J'ohn Waters did operate
a motor vehicle in a grossly negligent manner, and did thereby commit the crime of
involuntary manslaughter, in violation of 18 U.S.C. §§ 1112 and 1153.
COUNT 111
On or about October 20, 2004, near Allen, in lndian country, in the District of South
Dakota, the defendant, John Waters, an Indian, with wanton and reckless disregard for
human life amounting to gross negligence, did kill Charlotte R. Chipps, in the commission
of a lawful act in an unlawful manner which might produce death, which he knew was a
threat to the lives of others, and having knowledge of such circumstances as could reasonably
have enabled him to foresee the peril to which he subjected others, that is, John Waters did
operate a motor vehicle in a grossly negligent manner, and did thereby commit the crime of
involuntary manslaughter, in violation of 18 U.S.C. §§ 1112 and 1153.

\ A TRUF, Rll.l -A

 

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JAMES E. McMAHON
UNITED STATES ATTORNEY

By/‘a._ ` M.;

 

